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 6   Attorneys for Plaintiff
 7                                  UNITED STATES DISTRICT COURT
 8                                NORTHERN DISTRICT OF CALIFORNIA
 9                                 SAN FRANCISCO / OAKLAND DIVISION
10
11   EVA CHAN,                                      )   Case No.: 3:22-cv-392-VC
12                                                  )
                     Plaintiff,                     )   STIPULATION TO CONTINUE CASE
13                                                  )   MANAGEMENT CONFERENCE AND
     v.                                             )   RELATED DEADLINES; [PROPOSED]
14
                                                    )   ORDER GRANTING STIPULATION
15   PENSYS, INC; FUTUREPLAN                        )
     ADMINISTRATIVE SERVICES, LLC.,                 )
16                                                  )
                     Defendants.                    )
17
                                                    )
18                                                  )

19
20          WHEREAS, the parties previously met and conferred regarding a modified initial case

21   management schedule and stipulated to dates for initial case management as detailed below;

22          WHEREAS, on March 22, 2022, the Magistrate Judge previously assigned to this case issued

23   an order modifying then current case scheduling order in response to Defendants unopposed motion

24   for same, setting May 2, 2022 as the deadline for counsel to meet and confer regarding initial

25   disclosures and ADR, May 20, 2022 as the deadline to file a Rule 26(f) report, and May 27, 2022 at

26   2:00 PM for the initial case management conference;

27          WHEREAS, on April 5, 2022 the case was reassigned to this Court;

28
      CASE NO. 3:22-cv-392-VC                            1                    STIPULATION WITH PROPOSED ORDER
               Case 3:22-cv-00392-VC Document 22 Filed 04/14/22 Page 2 of 3




 1          WHEREAS, on April 7, 2022 the Court issued a new case management order with April 13,

 2   2022 as the deadline for the initial case management statement, and April 20, 2022 as the initial case

 3   management conference;

 4          WHEREAS, counsel is not able to comply with these dates due to previous commitments;

 5          WHEREFORE, the parties hereby request that the Court continue the April 13, 2022 and April

 6   20, 2022 deadlines to May 25, and June 1, 2022, respectively, or to such later dates as would be

 7   convenient to the Court;

 8
 9        IT IS SO STIPULATED.

10
11   Dated: April 14, 2022                                BOLT KEENLEY KIM LLP
12
                                                      By: /s/ James P. Keenley
13                                                       James P. Keenley
                                                         Attorneys for Plaintiff
14
15
     Dated: April 14, 2022                                GEENBERG TRAURIG LLP
16
                                                      By: /s/ Michael Slocum
17                                                       Michael Slocum
18                                                       Attorneys for Defendant

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      CASE NO. 3:22-cv-392-VC                            2                    STIPULATION WITH PROPOSED ORDER
                Case 3:22-cv-00392-VC Document 22 Filed 04/14/22 Page 3 of 3




 1                          ]PROPOSED] ORDER GRANTING STIPULATION

 2
 3            The Court, having considered the submission of the parties and good cause showing, hereby

 4   GRANTS the parties’ stipulation to continue the case management conference and related deadlines.

 5   The parties shall meet and confer regarding initial disclosures and ADR by May 1, 2022, the initial

 6   case management statement shall be filed by May 25, 2022, and the initial case management

 7   conference is continued to May 27, 2022 at 1:00 PM, to be held via zoom.

 8            IT IS SO ORDERED

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10   Dated:

11                                                                      Hon. Vince Chhabria

12                                                                      United States District Judge

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      CASE NO. 3:22-cv-392-VC                           3                    STIPULATION WITH PROPOSED ORDER
